  Case 4:18-cr-00718 Document 47-2 Filed on 06/19/20 in TXSD Page 1 of 14
 Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 1 of 14 PageID 10


                             U.S. District Court
                      Northern District of Texas (Dallas)
             CRIMINAL DOCKET FOR CASE #: 3:20−mj−00616−BT−1

Case title: USA v. Sarpy                                    Date Filed: 06/18/2020
Other court case number: 4:18−CR−718−001 U.S. Dist. Court   Date Terminated: 06/19/2020
                         for S. Dist. of Texas, Houston

Assigned to: Magistrate Judge
Rebecca Rutherford

Defendant (1)
John Wesley Sarpy                    represented by Federal Public Defender
TERMINATED: 06/19/2020                              Federal Public Defender − Dallas
                                                    525 Griffin St
                                                    Suite 629
                                                    Dallas, TX 75202
                                                    214−767−2746
                                                    Fax: 214−767−2886
                                                    Email: jason_hawkins@fd.org
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Federal Public Defender Appointment
                                                    Bar Status: Admitted/In Good Standing

Pending Counts                                      Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                   Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                          Disposition
Out of district arrest out of the
Southern District of Texas,
Houston Division. Charging the
defendant with violation of terms
of pretrial release.

                                                                                                       1
  Case 4:18-cr-00718 Document 47-2 Filed on 06/19/20 in TXSD Page 2 of 14
 Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 2 of 14 PageID 11




Plaintiff
USA                                          represented by John J Boyle−DOJ
                                                            US Attorney's Office
                                                            1100 Commerce St
                                                            Third Floor
                                                            Dallas, TX 75242−1699
                                                            214−659−8600
                                                            Email: john.boyle2@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: US Attorney's Office
                                                            Bar Status: Admitted/In Good Standing

 Date Filed   # Page Docket Text
 06/19/2020   1    4 MOTION for Detention filed by USA as to John Wesley Sarpy Attorney John J
                     Boyle−DOJ added to party USA(pty:pla) (Boyle−DOJ, John) (Entered:
                     06/19/2020)
 06/19/2020        6 Arrest (Rule 5) of John Wesley Sarpy. Case Number 4:18−cr−718−001 from
                     U.S. District Court for Southern District of Texas, Houston Division. (mcrd)
                     (Entered: 06/19/2020)
 06/19/2020   2    7 Minute Entry for proceedings held before Magistrate Judge Rebecca Rutherford:
                     Initial Appearance as to John Wesley Sarpy held on 6/19/2020. Date of Arrest:
                     6/19/2020 Location interval set to: LC. Attorney Appearances: AUSA − John
                     Boyle; Defense − Marti Morgan. (No exhibits) Time in Court − :03. (Court
                     Reporter: Todd Anderson) (Attachments: # 1 Additional Page(s) Petition) (mcrd)
                     (Entered: 06/19/2020)
 06/19/2020   3       (Document Restricted) CJA 23 Financial Affidavit by John Wesley Sarpy.
                      (mcrd) (Entered: 06/19/2020)
 06/19/2020   4   10 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to John Wesley
                     Sarpy. Federal Public Defender for John Wesley Sarpy appointed. (Ordered by
                     Magistrate Judge Rebecca Rutherford on 6/19/2020) (mcrd) (Entered:
                     06/19/2020)
 06/19/2020   5   11 ELECTRONIC Minute Entry for Waiver of Rule 5 & 5.1 Hearings (identity,
                     preliminary and detention) by John Wesley Sarpy: The defendant has been
                     charged by indictment with a felony offense in another district. At a proceeding
                     held on 6/19/2020 before Magistrate Judge Rebecca Rutherford, at which the
                     defendant appeared in person and represented by counsel, the Magistrate Judge
                     informed the defendant of the charges and his rights to an identity hearing to
                     determine whether the defendant is the person named in the indictment and
                     production of the warrant. The defendant stated he had discussed these rights
                     with counsel, that the defendant understood these rights, and that the defendant
                     wanted to waive his rights to an identity hearing and production of the warrant.
                     The Magistrate Judge found the defendant's waiver was knowing and voluntary,
                     and based on that waiver, the Magistrate Judge found the defendant is the person
                     charged in the indictment. The defendant also consented to the issuance of an


                                                                                                        2
 Case 4:18-cr-00718 Document 47-2 Filed on 06/19/20 in TXSD Page 3 of 14
Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 3 of 14 PageID 12


                     order requiring his appearance in the prosecuting district. (mcrd) (Entered:
                     06/19/2020)
06/19/2020   6   13 Report of Proceedings under Rule 5(c)(3) and 5.1 as to John Wesley Sarpy.
                    Defendant is removed forthwith to the district in which he is charged. Paperwork
                    sent to U.S. District Court for Southern District of Texas, Houston Division.
                    (Ordered by Magistrate Judge Rebecca Rutherford on 6/19/2020) (mcrd)
                    (Entered: 06/19/2020)




                                                                                                       3
      Case4:18-cr-00718
      Case 3:20-mj-00616-BT  Document
                         Document 47-2 1 Filed
                                          Filedon06/19/20
                                                  06/19/20 Page 1 of 2Page
                                                           in TXSD      PageID  1
                                                                           4 of 14
     Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 4 of 14 PageID 13



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA
                                                          NO.     3:20-MJ-616-BT
v.

JOHN WESLEY SARPY


                                   MOTION FOR DETENTION

        The United States moves for detention pending sentencing of defendant pursuant

to 18 U.S.C. § 3143(a).

        1.    Reason for Detention.       The Court should detain defendant because there are

no conditions of release which will reasonably assure (check one or both):

                        X       Defendant=s appearance as required

                        X       Safety of any other person and the community

        2.   Time For Detention Hearing.        The United States requests the Court conduct

the detention hearing:

                    X       At first appearance

                         After continuance of         3         days (not more than 3).

                DATED this 19th day of June, 2020.

                                               Respectfully submitted,

                                               ERIN NEALY COX
                                               UNITED STATES ATTORNEY




Motion for Detention - Page 1




                                                                                                4
    Case4:18-cr-00718
    Case 3:20-mj-00616-BT  Document
                       Document 47-2 1 Filed
                                        Filedon06/19/20
                                                06/19/20 Page 2 of 2Page
                                                         in TXSD      PageID  2
                                                                         5 of 14
   Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 5 of 14 PageID 14



                                          s/ John J. Boyle
                                          JOHN J. BOYLE
                                          Assistant United States Attorney
                                          Texas State Bar No. 00790002
                                          1100 Commerce Street, Third Floor
                                          Dallas, Texas 75242-1699
                                          Tel: 214.659.8600
                                          Fax: 214.767.0978
                                          E-Mail: John.Boyle2@usdoj.gov


                               CERTIFICATE OF SERVICE
       I hereby certify that on June 19, 2020, I electronically filed the foregoing document
with the Clerk of Court for the United States District Court, Northern District of Texas,
using the electronic case filing system of the Court. I do not know the attorney who will
represent the defendant; however, I hereby certify that I will hand-deliver a copy of the
foregoing document to the attorney or the defendant at the first available opportunity to do
so.



                                          s/ John J. Boyle
                                          JOHN J. BOYLE
                                          Assistant United States Attorney




Motion for Detention - Page 2




                                                                                               5
   Case4:18-cr-00718
  Case  3:20-mj-616 Document
                     NEF for Docket
                              47-2 Entry
                                    Filed on Filed 06/19/2020
                                             06/19/20  in TXSD Page
                                                               Page 1
                                                                    6 of
                                                                      of 1
                                                                         14
 Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 6 of 14 PageID 15

MIME−Version:1.0
From:ecf_txnd@txnd.uscourts.gov
To:Courtmail@localhost.localdomain
Bcc:
−−Case Participants: John J Boyle−DOJ (caseview.ecf@usdoj.gov, emma.reppeto@usdoj.gov,
ereppeto@usa.doj.gov, jboyle6304@gmail.com, john.boyle2@usdoj.gov,
matthew.smith7@usdoj.gov), Magistrate Judge Rebecca Rutherford
(bridget_o'hickey@txnd.uscourts.gov, jordan_curry@txnd.uscourts.gov,
judge_rutherford_ecfdocs@txnd.uscourts.gov, lavenia_price@txnd.uscourts.gov,
lori_douglas@txnd.uscourts.gov)
−−Non Case Participants: Probation Office (txnp_edocs−pro@txnp.uscourts.gov), U.S.
Marshals Office (usms−txn−courtdocket@usdoj.gov)
−−No Notice Sent:

Message−Id:12397730@txnd.uscourts.gov
Subject:Activity in Case 3:20−mj−00616−BT USA v. Sarpy Arrest − Rule 5/32.1/40
Content−Type: text/html

If you need to know whether you must send the presiding judge a paper copy of a document that you
have docketed in this case, click here: Judges' Copy Requirements. Click here to see Judge Specific
Requirements. Unless exempted, attorneys who are not admitted to practice in the Northern District of
Texas must seek admission promptly. Forms and Instructions found at www.txnd.uscourts.gov. If
admission requirements are not satisfied within 21 days, the clerk will notify the presiding judge.

                                          U.S. District Court

                                       Northern District of Texas

Notice of Electronic Filing


The following transaction was entered on 6/19/2020 at 3:00 PM CDT and filed on 6/19/2020

Case Name:       USA v. Sarpy
Case Number:     3:20−mj−00616−BT
Filer:
Document Number: No document attached
Docket Text:
Arrest (Rule 5) of John Wesley Sarpy. Case Number 4:18−cr−718−001 from U.S. District
Court for Southern District of Texas, Houston Division. (mcrd)


3:20−mj−00616−BT−1 Notice has been electronically mailed to:

John J Boyle−DOJ john.boyle2@usdoj.gov, CaseView.ECF@usdoj.gov, EReppeto@usa.doj.gov,
Emma.Reppeto@usdoj.gov, Matthew.Smith7@usdoj.gov, jboyle6304@gmail.com

3:20−mj−00616−BT−1 The CM/ECF system has NOT delivered notice electronically to the names listed
below. The clerk's office will only serve notice of court Orders and Judgments by mail as required by
the federal rules.




                                                                                                        6
 Case4:18-cr-00718
 Case 3:20-mj-00616-BT  Document
                    Document 47-2 2 Filed
                                     Filedon06/19/20
                                             06/19/20 Page 1 of 1Page
                                                      in TXSD      PageID  3
                                                                      7 of 14
Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 7 of 14 PageID 16




                                                                                7
Case
 Case 3:20-mj-00616-BT Document
      4:18-cr-00718 Document 47-22-1Filed
                                       Filed
                                           on06/19/20   Page
                                              06/19/20 in    1 ofPage
                                                          TXSD   2 PageID
                                                                      8 of 144
Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 8 of 14 PageID 17




                                                                                 8
Case
 Case 3:20-mj-00616-BT Document
      4:18-cr-00718 Document 47-22-1Filed
                                       Filed
                                           on06/19/20   Page
                                              06/19/20 in    2 ofPage
                                                          TXSD   2 PageID
                                                                      9 of 145
Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 9 of 14 PageID 18




                                                                                 9
  Case4:18-cr-00718
 Case  3:20-mj-00616-BT Document
                    Document 47-2 4Filed
                                     Filed
                                         on06/19/20  Page
                                            06/19/20 in    1 of Page
                                                        TXSD    1 PageID
                                                                     10 of 7
                                                                           14
Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 10 of 14 PageID 19




                                                                                10
  Case4:18-cr-00718
 Case  3:20-mj-616 Document
                    NEF for Docket
                             47-2 Entry
                                   Filed 5on 06/19/20
                                              Filed 06/19/2020  Page11
                                                       in TXSD Page  1 of
                                                                       of 2
                                                                          14
Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 11 of 14 PageID 20

MIME−Version:1.0
From:ecf_txnd@txnd.uscourts.gov
To:Courtmail@localhost.localdomain
Bcc:
−−Case Participants: John J Boyle−DOJ (caseview.ecf@usdoj.gov, emma.reppeto@usdoj.gov,
ereppeto@usa.doj.gov, jboyle6304@gmail.com, john.boyle2@usdoj.gov,
matthew.smith7@usdoj.gov), Federal Public Defender (annette_hill@fd.org,
astrid_gault@fd.org, cristal_a_ramos@fd.org, jason_hawkins@fd.org, joel_page@fd.org,
mary_moore@fd.org, monaleeza_montalvo@fd.org), Magistrate Judge Rebecca Rutherford
(bridget_o'hickey@txnd.uscourts.gov, jordan_curry@txnd.uscourts.gov,
judge_rutherford_ecfdocs@txnd.uscourts.gov, lavenia_price@txnd.uscourts.gov,
lori_douglas@txnd.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:12397798@txnd.uscourts.gov
Subject:Activity in Case 3:20−mj−00616−BT USA v. Sarpy Waiver of Rule 5/32.1/40            Hearings
Content−Type: text/html

If you need to know whether you must send the presiding judge a paper copy of a document that you
have docketed in this case, click here: Judges' Copy Requirements. Click here to see Judge Specific
Requirements. Unless exempted, attorneys who are not admitted to practice in the Northern District of
Texas must seek admission promptly. Forms and Instructions found at www.txnd.uscourts.gov. If
admission requirements are not satisfied within 21 days, the clerk will notify the presiding judge.

                                          U.S. District Court

                                       Northern District of Texas

Notice of Electronic Filing


The following transaction was entered on 6/19/2020 at 3:09 PM CDT and filed on 6/19/2020

Case Name:           USA v. Sarpy
Case Number:         3:20−mj−00616−BT
Filer:               Dft No. 1 − John Wesley Sarpy
Document Number:     5(No document attached)
Docket Text:
 ELECTRONIC Minute Entry for Waiver of Rule 5 & 5.1 Hearings (identity, preliminary and
detention) by John Wesley Sarpy: The defendant has been charged by indictment with a
felony offense in another district. At a proceeding held on 6/19/2020 before Magistrate Judge
Rebecca Rutherford, at which the defendant appeared in person and represented by
counsel, the Magistrate Judge informed the defendant of the charges and his rights to an
identity hearing to determine whether the defendant is the person named in the indictment
and production of the warrant. The defendant stated he had discussed these rights with
counsel, that the defendant understood these rights, and that the defendant wanted to waive
his rights to an identity hearing and production of the warrant. The Magistrate Judge found
the defendant's waiver was knowing and voluntary, and based on that waiver, the Magistrate
Judge found the defendant is the person charged in the indictment. The defendant also
consented to the issuance of an order requiring his appearance in the prosecuting district.
(mcrd)




                                                                                                        11
  Case4:18-cr-00718
 Case  3:20-mj-616 Document
                    NEF for Docket
                             47-2 Entry
                                   Filed 5on 06/19/20
                                              Filed 06/19/2020  Page12
                                                       in TXSD Page  2 of
                                                                       of 2
                                                                          14
Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 12 of 14 PageID 21


3:20−mj−00616−BT−1 Notice has been electronically mailed to:

Federal Public Defender jason_hawkins@fd.org, annette_hill@fd.org, astrid_gault@fd.org,
cristal_a_ramos@fd.org, joel_page@fd.org, mary_moore@fd.org, monaleeza_montalvo@fd.org

John J Boyle−DOJ john.boyle2@usdoj.gov, CaseView.ECF@usdoj.gov, EReppeto@usa.doj.gov,
Emma.Reppeto@usdoj.gov, Matthew.Smith7@usdoj.gov, jboyle6304@gmail.com

3:20−mj−00616−BT−1 The CM/ECF system has NOT delivered notice electronically to the names listed
below. The clerk's office will only serve notice of court Orders and Judgments by mail as required by
the federal rules.




                                                                                                    12
  Case4:18-cr-00718
 Case  3:20-mj-00616-BT Document
                    Document 47-2 6Filed
                                     Filed
                                         on06/19/20  Page
                                            06/19/20 in    1 of Page
                                                        TXSD    2 PageID
                                                                     13 of 8
                                                                           14
Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 13 of 14 PageID 22




                                                                                13
  Case4:18-cr-00718
 Case  3:20-mj-00616-BT Document
                    Document 47-2 6Filed
                                     Filed
                                         on06/19/20  Page
                                            06/19/20 in    2 of Page
                                                        TXSD    2 PageID
                                                                     14 of 9
                                                                           14
Case 3:20-mj-00616-BT Document 7 Filed 06/19/20 Page 14 of 14 PageID 23




                                                                                14
